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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


 SCOTT WYNN, an individual,

              Plaintiff,

 v.                                          No. 3:21–cv–00514–MMH–JRK

 THOMAS J. VILSACK, in his official
 capacity as Secretary of Agriculture,
 et al.,

              Defendants.


                 NOTICE OF UPDATE IN RELATED ACTION

      Defendants provide this notice to update the Court on proceedings in the related

action of Miller v. Vilsack, No. 21-0595 (N.D. Tex.). See ECF No. 39 (listing Miller as

a related action). On September 22, 2021, the court in Miller granted the plaintiffs’

motion for leave to file a second amended class action complaint and entered the

schedule proposed by the parties for proceedings on the merits. Thereafter, the clerk

filed on the docket the plaintiffs’ second amended class action complaint, which

narrows the plaintiffs’ claims to challenges to Section 1005 of the American Rescue

Plan Act (“ARPA”).         Defendants have attached the Miller court’s orders and the

plaintiffs’ second amended class action complaint for reference. See Exhibit 1.



 Dated: September 22, 2021         Respectfully submitted,
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                             BRIAN M. BOYNTON
                             Acting Assistant Attorney General

                             LESLEY FARBY
                             Assistant Branch Director
                             Civil Division, Federal Programs Branch

                             /s/ Emily Newton
                             EMILY SUE NEWTON (VA Bar No. 80745)
                             Senior Trial Counsel
                             KYLA M. SNOW (Ohio Bar No. 96662)
                             MICHAEL F. KNAPP (Cal. Bar No. 314104)
                             Trial Attorneys
                             United States Department of Justice
                             Civil Division, Federal Programs Branch
                             1100 L Street, NW
                             Washington, D.C. 20005
                             Tel: (202) 514-2071 / Fax: (202) 616-8460
                             michael.f.knapp@usdoj.gov

                             Counsel for Defendants




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                               Certificate of Service

      I hereby certify that on September 22, 2021, a copy of the foregoing motion was

filed electronically via the Court’s ECF system, which effects service on counsel of

record.

                                      /s/ Emily Newton
                                      EMILY SUE NEWTON
                                      U.S. Department of Justice




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